UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

KILMAR ARMANDO ABREGO
GARCIA, et al.,

Plaintiffs,

No. 8:25-cv-00951-PX
KRISTI NOEM, Secretary of Homeland
Security, et al.,

Declaration of Joseph N. Mazzara

Defendants.

DECLARATION OF JOSEPH N. MAZZARA

I, Joseph N. Mazzara, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as follows:

1. Please refer to my prior declarations for the foundation of my personal knowledge,
Abrego Garcia v. Noem, No. 8:25-cv-00951-PX (D. Md. Apr. 13, 2025), ECF No. 74 J 2, 4-6;
ECF No. 77 4 2, 4-6.

2. Given the government’s prior clear and unequivocal notice to the Court regarding
how the government will facilitate Abrego Garcia’s return within the contours of existing law and
regulation, there are no further updates.

I declare under penalty of perjury that the foregoing is true and correct.

Executed this 17th day of April 2025.

LAM C-—

bp N. Mazzara
Acting General Counsel
U.S. Department of Homeland Security

